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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                   Delaware
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _11____                                                                     Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               CII Parent, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   4    7      4    6   5    4   7
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                                                                     0 6
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business
                                                  21 Custom House Street                                     _______________________________________________
                                              ______________________________________________
                                              Number     Street                                              Number     Street

                                              ______________________________________________                 _______________________________________________
                                                                                                             P.O. Box
                                              Boston                             MA         02110
                                              ______________________________________________                 _______________________________________________
                                              City                        State    ZIP Code                  City                      State      ZIP Code


                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business
                                                  Suffolk
                                              ______________________________________________
                                              County                                                         _______________________________________________
                                                                                                             Number     Street

                                                                                                             _______________________________________________

                                                                                                             _______________________________________________
                                                                                                             City                      State      ZIP Code




 5.   Debtor’s website (URL)                  n/a
                                              ____________________________________________________________________________________________________




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               CII Parent, Inc.
Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          X None of the above


                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              5 ___
                                             ___ 1 ___
                                                    1 ___
                                                       2

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          X Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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                CII Parent, Inc.
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        
                                          X No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases           
                                          X No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        
                                          X No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
               CII Parent, Inc.
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         X Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         
                                         X 1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 
                                                                             X $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                 
                                                                             X $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         12/27/2022
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________
                                                                                                          Thomas Radford
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   President
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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              CII Parent, Inc.
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Robert J. Dehney
                                            _____________________________________________            Date        12 / 27 / 2022
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY


                                            Robert J. Dehney
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Morris, Nichols, Arsht & Tunnell LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1201  North Market Street, 16th Floor
                                           _________________________________________________________________________________________________
                                           Number     Street
                                           Wilmington
                                           ____________________________________________________
                                                                                                           DE            19899-1347
                                                                                                           ____________ ______________________________
                                           City                                                            State        ZIP Code

                                             (302) 351-9353
                                           ____________________________________
                                                                                                            rdehney@morrisnichols.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address


                                            3578                                                           DE
                                           ______________________________________________________ ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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                                    WRITTEN CONSENT
                        OF DIRECTORS OF CII PARENT, INC.

        I, the undersigned, being the sole director of CII Parent, Inc., a corporation organized and

existing under the laws of the State of Delaware (the “Corporation”), do hereby consent, pursuant

to Section 141 of the Delaware General Corporation Law, to the adoption of the following

resolutions by the Board of Directors of the Corporation (the “Board”) and that such action be

taken without a meeting pursuant to said Section 141:

        WHEREAS, the Board has reviewed and considered the financial and operational

condition of the business on the date hereof, including the current and long-term liabilities of the

Corporation, credit market conditions, and macroeconomic conditions impacting the Corporation

and its direct and indirect subsidiaries;

        WHEREAS, the Board has determined that the Corporation and its stakeholders would

best be served by a reorganization of the Corporation under Chapter 11 of the United States

Bankruptcy Code (the “Bankruptcy Code”).

        NOW THEREFORE, it is hereby:

        RESOLVED, that, as soon as practicable, the Corporation file a petition for relief under

Chapter 11 of the Bankruptcy Code (the “Petition”) in the District of Delaware (the “Court”);

and it is further

        RESOLVED, that I, Thomas Radford, President of the Corporation (the “Authorized

Officer”), be and hereby am authorized, empowered and directed, in the name and on behalf of

the Corporation, to execute and file, or cause to be filed, the Petition on behalf of the Corporation

in order to seek relief under Chapter 11 of the Bankruptcy Code in the Court (the “Chapter 11

case”); and it is further
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          RESOLVED, that the Authorized Officer be and hereby is authorized, empowered and

directed, in the name and on behalf of the Corporation, to execute and file all petitions,

schedules, motions, lists, applications, pleadings, declarations, affidavits and other papers as

required to support the Petition or seek entry of first day orders, and, in connection therewith, to

employ and retain assistance of legal counsel, accountants, financial advisors and other

professionals, and to take and perform any and all further acts and deeds that are deemed

necessary, advisable or appropriate in connection with, or in furtherance of, the Petition or the

Chapter 11 case, with a view to the successful prosecution of the case and the protection of the

Corporation’s direct and indirect subsidiaries; and it is further

          RESOLVED, that the Authorized Officer be and hereby is authorized, empowered and

directed, in the name and on behalf of the Corporation, to employ the law firm of Glenn Agre

Bergman & Fuentes LLP, located at 1185 Avenue of the Americas, New York, New York

10019, as bankruptcy co-counsel to render legal services to, and to represent, the Corporation in

the Chapter 11 case and in any and all related proceedings, subject to Court approval; and it is

further

          RESOLVED, that the Authorized Officer be and hereby is authorized, empowered and

directed, in the name and on behalf of the Corporation, to employ the law firm of Morris,

Nichols, Arsht & Tunnell LLP, located at 1201 North Market Street, Wilmington, Delaware

19801, as bankruptcy co-counsel to render legal services to, and to represent, the Corporation in

the Chapter 11 case and in any and all related proceedings, subject to Court approval; and it is

further




                                                  2
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        RESOLVED, that the Corporation and its representatives are authorized to take such

actions as are necessary, advisable or appropriate to maximize the value of the Corporation and

its direct and indirect subsidiaries.

       IN WITNESS WHEREOF, the undersigned have executed this Written Consent as of the
27th day of December, 2022 and direct that it be filed with the minutes of proceedings of the
Board.




                                           ____________________________________
                                           Thomas Radford




                                                3
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re
                                                               Chapter 11
    CII PARENT, INC.

                                                               Case No 22-_______ (___)
                                        Debtor.1



                                CORPORATE OWNERSHIP STATEMENT

            Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the undersigned authorized officer of the Debtor certifies that CII Intermediate, Inc., owns more

than 10% of the common stock of the Debtor. FSEP FS Holdings, LLC, owns more than 10% of

the common stock of CII Intermediate, Inc., and Falcon Structured Equity Partners, LP, owns more

than 10% of the equity of FSEP FS Holdings, LLC.




1
            The last four digits of the Debtor’s federal tax identification number are 4706. The Debtor’s address is 21
            Custom House Street, 10th Floor, Boston, Massachusetts 02110.
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 Fill in this information to identify the case and this filing:


                CII Parent, Inc.
 Debtor Name __________________________________________________________________

                                                                                Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                                 Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 12/27/2022
                    ______________                            _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Thomas Radford
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
